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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the case listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION

      8:95CR40                                USA v. Ranae Ann Ruma
      8:99CR16                                USA v. Toni L. Yager,Guillermo Aldaco,
                                              Jr., Inez Patricia Udero
      8:99CR125                               USA v. Christopher P. Sianis
      8:99CR224                               USA v. Dennis Tyndall
      8:00CR109                               USA v. Joahnie Escamilla
      8:00CR128                               USA v. Donald D. Mueller
      8:00CR225                               USA v. Joshua A. Sasse
      4:00CR252                               USA v.    Mario Sanchez Nunez, Humberto
                                              Santos-Garcia, Roberto Arreguin-Rivera
      8:00CR281                               USA v. Donald Lupino
      8:00CR322                               USA v. Efrain Ruiz-Gomez
      8:00CR356                               USA v. Jeffrey Mark Hall
      8:01CR12                                USA v. Celso Tirado
      8:01CR54                                USA v. Peopleservice
      8:01CR73                                USA v. Richard Lewis
      8:01CR168                               USA v. Jamie Eugene Tuggle
      8:01CR272                               USA v. Curtis Anthony Holmes, Latayo
                                              Raymond Clark
      8:02CR83                                USA v. John Sedersten
      8:02CR84                                USA v. Angelo Barnes, Barbara Alstyne
      8:02CR210                               USA v. Perdis Cotton
      8:02CR213                               USA v. Terry Tyler
      8:02CR247                               USA v. Margie C. Chavez
      8:02CR277                               USA v. Richard Vierya
      8:02CR279                               USA v. Rafael Beltran-Arce,
                                              Antonio Beltran-Arce
      8:02CR341                               USA v. Kevin Charles
      8:02CR358                               USA v. Beatrice G. Lomeli
      8:02CR379                               USA v. Leonardo Perez-Llanes
      8:02CR392                               USA v. Kenneth Wolfe
      4:02CR3134                              USA v. James A. Money
      8:03CR5                                 USA v. Wesley Earl Alleyne, Billy Jean Lee
      8:03CR23                                USA v. Keith A. Va Lerie
      8:03CR36                                USA v. Juan M. Rodriguez, Gypsy F.
                                              Rodriguez
      8:03CR50                                USA v. Martin Martinez-Noriega
      8:03CR84                                USA v. Chiwanda L. Williams
      8:03CR91                                USA v. Damion L. Davis
      8:03CR137                               USA v. Ryan Haynes, Catrina Larson
      8:03CR193/194                           USA v. Robert G. Fleck, Jr., Ken R. Fleck
      8:03CR258                               USA v. Mario Loren Aldrich
  8:95-cr-00040-WGC      Doc # 222   Filed: 06/13/07   Page 2 of 2 - Page ID # 121
8:03CR313                             USA v. Emilio Valdez
8:03CR323                             USA v. Son Ngoc Nguyen
8:03CR332/393                         USA v. Aaron M. Shanle
8:03CR352                             USA v. Carmen Carde, William Hernandez
8:03CR411                             USA v. Robert Cave
8:03CR419                             USA v. Billy Douglas
8:03CR460                             USA v. Eddie Ayon, Jesus Nicholas Rios
8:03CR481                             USA v. Francisco Lozano
8:03CR489                             USA v. Luis Zuleta
8:03CR553                             USA v. Leonard G. Rhode
8:03CR561                             USA v. Noe Lopez-Vargas, Fernando
                                      Rios-Serna, Armando Medina-Constantino
8:03CR566                             USA v. Randy Evans
8:03CR576                             USA v. Jesus Blanco
8:03CR586                             USA v. John K. Hulit
8:04CR21                              USA v. Oluwaseun David Oluyole
8:04CR47                              USA v. Chad Pelley
8:04CR105                             USA v. Thurman Griffin, Sr.
8:04CR118                             USA v. Humberto Rivera-Moreno
8:04CR164                             USA v. Michael Tucker
8:04CR184                             USA v. James D. Olson
8:04CR267                             USA v. Christopher Grant
8:04CR288                             USA v. Mary S. Becerra
8:04CR523                             USA v. Mary Moniz
8:05CR63                              USA v. Mario Ramirez-Beltran
8:05CR70                              USA v. Ginia J. Meissner
8:05CR139                             USA v. Williams Andrews, Jr.
8:05CR149                             USA v. Aaron Olivo
8:05CR184                             USA v. Raul Ramirez
8:05CR186                             USA v. Alan Sandman
8:05CR301                             USA v. Victor M. Arista-Herrera
8:05CR359                             USA v. Aymard N. Tchakounte
8:06CR1                               USA v. John Dewey Lim
8:06CR115                             USA v. Gene A. Boeka
8:06CR136                             USA v. Donald Livingston
8:06MJ161                             USA v. Jose Adelmo Juarez-Lima
8:06CR194                             USA v. Conrad A. Jasper
8:06CR217                             USA v. Eddie C. Shell
8:06CR227                             USA v. Raymond L. Heisser
8:06CR241                             USA v. Tyler S. Peneaux




DATED this 13th day of June, 2007.


                                      BY THE COURT

                                      s/Joseph F. Bataillon
                                      United States District Judge
